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          Exhibit T
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Janssen COVID-19 Vaccine
(Ad26.COV2.S)



Janssen COVID-19 Vaccine Janssen COVID-19
Vaccine - No Presence of Fetal Tissue or Human
Cells

Date Last Updated: 08/02/2021


SUMMARY
   The Janssen COVID-19 Vaccine has been granted an Emergency Use Authorization (EUA) by the U.S.
   Food and Drug Administration (FDA). The Janssen COVID-19 Vaccine has not been approved or
   licensed by FDA, but has been authorized for emergency use by FDA, under an EUA for active
   immunization to prevent Coronavirus Disease 2019 (COVID-19) in individuals 18 years of age and
   older. The emergency use of this product is only authorized for the duration of the declaration that
   circumstances exist justifying the authorization of the emergency use of the medical product under
   Section 564(b)(1) of the Federal Food, Drug, and Cosmetic Act unless the declaration is terminated
   or authorization revoked sooner.1-3
   There is no fetal tissue nor any human cells present in the Janssen COVID-19 Vaccine (Ad26.COV2.S;
   JNJ-78436735).4
   Ad26.COV2.S uses an inactivated common cold virus, into which we insert a piece of the coronavirus
   spike protein DNA. The vaccine teaches the immune system to recognize the SARS-CoV-2 virus and
   help protect against future infection. To accomplish this, we use viral vector technology developed
   more than 30 years ago that relies on cells engineered and grown from a single fetal retinal cell.
   That single cell has been transformed into a new, fully engineered cell line which replicates
   indeﬁnitely. Notably, there has been no further fetal cell collection. Our Janssen COVID-19 Vaccine
   contains no fetal tissue whatsoever.5-7
   The Ad26 vector expressing the SARS-CoV-2 S protein is grown in PER.C6 TetR cells, in media
   containing amino acids and no animal-derived proteins. After propagation, the vaccine is processed
   through several puriﬁcation steps, formulated with inactive ingredients and ﬁlled into vials.2, 8

LITERATURE SEARCH

A literature search of Ovid MEDLINE®, Embase®, BIOSIS Previews®, and Derwent Drug File databases
(and/or other resources, including internal/external databases) pertaining to this topic was conducted
on 30 July 2021.
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